Case 5:24-cv-00739-PRW Documenti1-2 Filed 07/22/24 Pagelof1

Demand for relief: ADDENDUM B

i: woman samantha-siong: ricks do hereby wish and demand the immediate restoration of my
property a boy aurelius and a girl ida to its origin i: woman smanatha-siong: ricks;

The following line item(s) in accordance with my:
SELF EXECUTING CONTRACT AGREEMENT UPON CONTACT OF PUBLIC
SERVANTS/OFFICIALS served upon Wrongdoer(s); ADDENDUM C

Line item 4:

Five-hundred-thirty-nine days (539) handcuffed transported incarcerated and subjected to
frivolous adjudication without my express written and notarized consent: 12,936 hours total @
$300,000.00 per/hour:

Three Billion Eight Hundred Eighty Million Eight Hundred Thousand and 00/100-Dollars
($3,880,800,000.00)

Line item 5:

Nine-hundred-forty (940) days my property: a boy aurelius and a girl ida taken away without
my express written and notarized consent:

One Hundred Eighty Eight Million and 00/100 Dollars. ($188,000,000.00)

Line item 9:

Four (4) private organic matter: teeth forcibly removed of my girl ida under duress without my
express written notarized consent: One Billion Dollars per tooth forcibly removed:

Four Billion and 00/100-Dollars ($4,000,000,000.00)

$3,880,800,000.00
$4,000,000,000.00
+ $188,000,000.00

$8,068,800,000.00

Sum total:

Eight Billion Sixty Eight Million Eight Hundred Thousand and 00/100 Dollars
($8,068,800,000.00)
